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               EXHIBIT A
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                                    Statement of Charles F. McGonigal

As I reflect on my actions leading to this point, I recognize that my actions taken for the purpose of
making money post-retirement from the FBI overrode my good judgment and values. I am truly sorry for
this as it minimized all I have done in honor of my service to the U.S. Government, specifically, the
Department of Justice (DOJ) and the FBI. I let others influence my decisions and impair my own
judgement, leading me to actions that were immoral and illegal. Again, I take full responsibility for my
actions that have led me here today and I understand now that I neglected to see the severity of the
situation I was involving myself in. I should have known better and acted in a matter consistent with U.S.
Government policies, my personal and professional values as an FBI executive and as a responsible
person.

I have suffered significantly as a result of my actions. I have caused great mental and physical anguish
for my wife, children, family and friends. At this point, I am more concerned about my wife Pamela and
children, and the disappointment I have caused them. I wish I could relieve their pain and burden
instantly, but I know it will take the remainder of my life to do so, which I am fully prepared to do. I have
lost credibility with many in the law enforcement and security community with the embarrassment I
have caused, and I am truly sorry for this. I keep wishing this was all a bad dream I could simply wake up
from. Every morning I am reminded of my mistakes and situation, which continues to motivate me to do
good in the world as I clearly see the impact my actions have on the people closest to me.

In understanding the crimes that I have been convicted of, I have accepted full responsibility for them
and have made a personal pact to be a better person and to focus on what is most important in my life,
my faith, my family and my friends. This situation has pushed me to seek counseling and independent
faith-based support to aid me in rehabilitating myself as a human being and a husband, father and
friend. I have much to do to repair and restore people’s confidence in me and I hope to one day display
to those most important to me that I clearly understand my wrongful conduct, have taken full
responsibility for it and accept whatever punishment is levied in support of internal healing and social
restitution.

I am hopeful I can one day regain the trust and confidence of the people closest to me and ensure I
focus on the importance of these valued relationships in motivating me to stay on a path of
righteousness. I am confident I will succeed as even to this day, the love, understanding and support I
have received has been overwhelming and not necessarily deserved. I do not take this for granted and
will continue down the path of humility, sorrow, remorse and recovery. As I approach the holiday
season with my family, friends and many loved ones, I recognize and attempt to express and embody
peace, joy, good-will, the spirit of giving and good gentlemanly behavior towards others.

As I feel this sense of what it means to ask for forgiveness for my actions, I can only hope my future will
be one of freedom, and an opportunity for me to express my love and understanding to those I have
hurt in taking responsibility for my actions.
